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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 1:19-CV-20204

 JANE DOE, by and through
 her mother and next friend, Mary Doe,

                  Plaintiff,

 v.

 THE SCHOOL BOARD OF MIAMI-DADE COUNTY,
 and SUPERINTENDANT ALBERTO CARVALHO,

             Defendants.
 ____________________________________________/

                                 COMPLAINT AND JURY DEMAND

         Plaintiff, Jane Doe (Jane) 1 , by her mother and next friend Mary Doe, through the

 undersigned counsel, sues Defendants the School Board of Miami-Dade County (“School Board”)

 and Superintendent Alberto Carvalho (“Carvalho”) and states:

                                             INTRODUCTION

         1.       Jane was a 14-year-old female student enrolled at Miami Carol City High School

 (“Carol City”), when she was subjected to repeated bullying behavior that constituted sexual

 harassment, including three sexual assaults, from October 24, 2017 to November 6, 2017, by

 different older male peers.

         2.       When Jane and her friends reported the sexual harassment, including the assaults,

 to multiple School Board and school district (“School District”) 2 employees, including Carol



 1
   “Jane Doe” has been substituted for Plaintiff’s name in this complaint to protect her identify. Plaintiff was
 a minor at the time of the sexual assaults and aftermath which form the basis of this complaint.
 2
   The Miami Dade Public School District is a unit for the control, organization and administration by
 Defendant School Board of all public schools within Miami-Dade County. Fla. Stat. § 1001.30. The School
 District’s governing body is the School Board. Fla. Stat. § 1001.40.
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 City’s Principal, Vice Principal, Assistant Principals (“School Officials”), a school resource officer,

 at least two teachers, and at least two counselors, on November 7, 2017, instead of coming to her

 aid, the School District employees failed to adequately and equitably respond and investigate the

 allegations, engaged in a cover-up of the sexual assaults, coerced Jane to recant her written

 statement, and suspended her for “sexual misconduct.” In their wholly unreasonable response to

 the sexual harassment experienced by Jane, School Officials and District employees also violated

 numerous School Board policies regarding the safety and education of students committed to their

 care.

         3.     School Officials and the resource officer failed to refer the allegations to a law

 enforcement agency as required under Florida law and School Board policies. When the trauma

 from the harassment and fear of the perpetrators led to Jane repeatedly missing school, School

 Officials and Defendants ignored these absences for over three months and failed to provide her

 with any academic instruction, referral for counseling, or steps to ensure her safety in school, as

 she sat home isolated and afraid to return to school. Jane, a conscientious and ambitious student,

 now has a full academic quarter of failing grades on her high school transcript. The record of the

 suspension imposed by School Officials and Defendants when she reported the sexual assaults and

 other bullying behavior constituting sexual harassment, and her failing grades that academic

 quarter, have already disqualified Jane from consideration for certain educational opportunities

 and have impeded her ability to achieve her future academic goals.

         4.     The sexual harassment, including multiple sexual assaults, combined with

 Defendant School Board’s deliberate indifference towards the sexual harassment and retaliation

 against Jane, has harmed her educationally, traumatized her emotionally and psychologically, and




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 caused damage to her reputation and standing in her community, as well as exposing her to the

 risk of additional bullying in the form of sexual harassment.

        5.      Defendants have a custom of failing to adequately train employees to recognize,

 prevent, and address sexual harassment, including sexual assault, which resulted in the deprivation

 of Jane’s constitutional, statutory, and common-law rights.

        6.      Defendant School Board’s actions deprived Jane of equal access to educational

 opportunities in violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a).

 Defendant School Board also violated Jane’s rights under the Equal Protection Clause of the

 Fourteenth Amendment to the U.S. Constitution, as well as state tort laws.

        7.      Jane seeks injunctive relief and monetary damages, attorneys’ fees, and costs.

                                  JURISDICTION AND VENUE

        8.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1334 because this is

 a civil action arising under the Constitution and the laws of the United States. Specifically, Jane

 asserts claims under Title IX of the Education Amendments of 1972, 20 U.S.C § 1681 et seq., and

 the Fourteenth Amendment to the United States Constitution pursuant to 42 U.S.C. § 1983. This

 Court has jurisdiction over the supplemental claims arising under Florida law pursuant to 28 U.S.C.

 § 1367(a).

        9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial

 part of the events or omissions giving rise to the claims occurred in this district.

                                              PARTIES

        10.     Jane is now a fifteen-year-old female who resides with her mother, Mary Doe, and

 two younger siblings in Miami-Dade County, Florida. At all relevant times Jane was enrolled as a

 high school student at Carol City in the School District.



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        11.     As the body corporate for the School District, Defendant School Board is a recipient

 of federal financial assistance within the meaning of 20 U.S.C. § 1681(a).

        12.     At all relevant times, Defendant Carvalho was the Superintendent of the School

 District and charged with the administration and management of all District schools, and with the

 supervision of instruction, as the secretary and executive officer of the School Board. Fla. Stat. §

 1001.32.

        13.     At all relevant times, Defendant Carvalho was an employee of the School Board,

 acting or failing to act within the scope, power, course, and authority of his employment.

        14.     At all relevant times, Defendant School Board and Defendant Carvalho were

 responsible for providing training to School District employees, including the School Officials and

 resource officers, related to the implementation of the Defendant School Board’s policies and

 procedures on bullying and discrimination, including sexual harassment, in accordance with state

 and federal law.

                                    FACTUAL ASSERTIONS

   Jane Experienced Multiple Incidents of Sexual Harassment, Including Sexual Assault, by
                         Several Carol City Students in Fall 2017

        15.     From October 2017 through November 2017, Jane suffered multiple incidents of

 bullying behavior constituting sexual harassment, including sexual assault, at Carol City by other

 students as detailed below.

        16.     On or about the morning of October 17, 2017, as Jane was walking out of the girl’s

 bathroom, an older male student named A.C. asked Jane to go into the boys’ bathroom with him.

 Assuming that he wanted to engage in sexual activity with her, Jane repeatedly said “no.”




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                            October 24, 2017 – Sexual Assault by A.C.

        17.     During lunchtime at Carol City on or about October 24, 2017, A.C. renewed his

 request that she go into the bathroom with him, grabbed and pulled Jane into the boys’ bathroom,

 locked her into a stall with him, and sexually assaulted her by anal penetration. After he assaulted

 her, he left her alone in the boys’ bathroom. Jane was hurt, shaken, and scared.

        18.     Jane did not report the sexual assault to anyone at her school at that time because

 she was embarrassed, confused, and feared that School Officials would not believe her.

                             October 27, 2017 – Sexual Assault by J.C.

        19.     A few days later, on or about the afternoon of October 27, 2017, another older male

 student, J.C., stopped Jane in the hallway as she was leaving the girls’ bathroom. J.C. asked her to

 have sex, because, upon information and belief, he believed that she had had sex with A.C.

 previously. Jane was shocked and started walking away. J.C. grabbed her tightly by the arm and

 forcibly pulled her into the adjacent boys’ bathroom.

        20.     J.C. assaulted Jane by forcing her to perform oral sex on him as she was choking,

 trembling, crying, and repeatedly saying “No.” She felt like she was going to faint. After he left,

 Jane exited the bathroom alone, humiliated and shaken.

        21.     One of her friends, C.S., saw Jane crying at the school “pep rally” that day and

 asked her why, but she could not bring herself to tell him what happened.

        22.     At the time, Jane did not report the sexual assault by J.C. because she did not think

 the School Officials would believe her. She was confused, hurt, and humiliated.

                            November 6, 2017 – Sexual Assault by E.H.

        23.     On or about November 6, 2017, an older male student whom Jane had never met,

 E.H., asked her if she could meet him in the boys’ bathroom after school. She said “No.” That


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 same afternoon, A.C. and J.C., her first two attackers, also asked Jane if she would meet them in

 the boys’ bathroom after school. Again, she said “No.”

        24.      Late that day, E.H. followed Jane into the girls’ bathroom. Jane stated she did not

 want anything to do with him. E.H. cornered her and demanded oral sex, which she refused. E.H.

 then sexually assaulted her by forcibly penetrating her vaginally without a condom. E.H. only

 stopped when another student, J.M., called to him to come out. E.H. stepped out and then came

 back into the bathroom and said to Jane, “Why would you do it with [A.C.] and [J.C.] and not do

 it with me?” Jane repeatedly refused to do anything with him and ultimately fought her way out of

 the bathroom.

        25.      Afterwards, Jane walked home crying. During her walk home, she encountered

 three of her friends C.S., C, and H.O., and told them what had happened. Her friends told her that

 if she did not tell her mother or the school, they would report it to the school the next day. That

 night, Jane told her friend E.F. by phone what had happened, but she did not tell her mother because

 she felt scared and ashamed.

       Defendant School Board Was Deliberately Indifferent to Jane’s Sexual Harassment

         November 7, 2017 – Report to School Officials & Their Inadequate Investigation

        26.      On or about the morning of November 7, 2017, Jane’s friends E.F., C.S., and H.O.

 encouraged her to come with them to report the sexual harassment to the School Officials, even

 though Jane was concerned that the School Officials would not believe her.

        27.      Despite her fears, before her first class (English) began that morning, Jane told her

 English teacher that three students had sexually attacked her on separate occasions. She identified

 the assailants to her teacher. A.C., the first attacker, was a student in her English class, and when

 class began, the teacher ensured that A.C. was not sitting near Jane.


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         28.     Upon information and belief, at that time, the English teacher did not take any

 additional action to address the matter or report what Jane told her to any School Official.

         29.     Upon information and belief, that same morning of November 7, three of Jane’s

 friends – C.S., E.F. and H.O. – reported the sexual assaults of Jane to Principal Ja Marv Dunn and

 to a school security guard.

         30.     While in her English class, Jane was called to the main office and met with Assistant

 Principal Mimose Morgan-Rose, who asked Jane about her friends’ report that she had been

 sexually assaulted by three students.

         31.     Several minutes after Jane had begun to describe the attacks, Assistant Principal

 Morgan-Rose told Jane that she would “have to repeat the whole story again” to Officer Jules

 Etienne, a school resource officer3 who had just arrived.

         32.     Upon information and belief, Officer Etienne was not trained and/or authorized by

 School Board policy or procedures to question alleged victims of child sexual abuse or rape.

         33.     Neither any School Official nor Officer Etienne notified Jane’s mother at that time

 about the allegations of multiple sexual assaults, in violation of Fla. Stat. §1006.147(4)(i).4 School

 Officials did not refer Jane’s allegations of multiple sexual assaults on school property to a law

 enforcement agency until months later, in violation of Fla. Stat. §§ 1006.147(4)(i) and

 1006.13(4)(a).5




 3
   School resource officers, sometimes called school police officers, are employees of the School Board and
 commissioned by Superintendent Carvalho. They have duties in accordance with School Board Policy No.
 8480.
 4
   A school district policy must include “[a] procedure for providing immediate notification to the parents
 of a victim of bullying or harassment and the parents of the perpetrator of an act of bullying or harassment,
 as well as notification to all local agencies where criminal charges may be pursued against the perpetrator.”
 5
   “Each district school board shall enter into agreements with the county sheriff’s office and local police
 department specifying guidelines for ensuring that acts that pose a serious threat to school safety, whether
 committed by a student or adult, are reported to a law enforcement agency.”
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        34.      Assistant Principal Morgan-Rose left Jane alone in her office with Officer Etienne,

 permitting him, an adult male whom Jane did not know, to interrogate Jane about the sexual

 assaults without Jane’s mother or anyone else present.

        35.      Jane was in Assistant Principal Morgan-Rose’s office alone with Officer Etienne

 from approximately 7:30 A.M. until approximately 10:40 A.M being questioned about the details

 of the assaults. Although deeply humiliated and shaken, Jane tried to stay calm while writing a

 statement of the attacks requested by Officer Etienne (“Statement”).

        36.      The Statement included details describing the bullying behavior that constituted

 sexual harassment, including the multiple sexual assaults.

        37.      After Jane told Officer Etienne that the Statement was complete, Officer Etienne

 repeatedly asked her why she was in the bathroom during each of the three sexual assaults,

 suggesting that Jane was responsible. She told him that in each instance she did not want to be in

 the bathroom.

        38.      Officer Etienne stated that he did not understand what she was saying, and that he

 could not help her if she did not explain why she was in the bathroom with her assailants.

        39.      At approximately 10:40 A.M., as he concluded the interview, Officer Etienne told

 Jane that they “had to” keep her separated from A.C., J.C., and E.H. at school. Jane told him that

 A.C. was in her third class that day. After their meeting, Officer Etienne sent Jane to speak with

 a school counselor, who checked Jane’s grades and student conduct records and advised her of the

 possibility that she had been exposed to sexually transmitted infections.

        40.      Neither the English teacher, Officer Etienne, the school counselor, nor any School

 Official provided any information to Jane about her rights under Title IX, how to contact the

 School District’s Title IX Coordinator, how to file a report with law enforcement agencies, or how


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 to obtain academic accommodations and support services to ensure her equal access to educational

 opportunities and benefits despite the traumatic events that she had experienced. While Officer

 Etienne told Jane that the school would “ha[ve] to” separate her from A.C., J.C., and E.H., neither

 he, the school counselor, nor any School Official informed Jane how changes would be made to

 her school environment or what changes would be made to anyone’s class schedule to ensure that

 she was safe and protected in school, violating Fla. Stat. §1006.13 and Miami-Dade County Public

 Schools Code of Student Conduct.

           41.   Still no School Official had attempted to contact Mary Doe, Jane’s mother.

           42.   The school counselor then gave Jane a pass to return to her regularly scheduled

 classes that day. Jane missed most of her first (English) and second (Math) classes that day due to

 the questioning by Officer Etienne.

           43.   Upon leaving the school counselor’s office, Jane went to find her Math teacher to

 explain why she had missed class that day. She found her Math teacher at lunch with a second

 school counselor. Jane explained to the Math teacher and the second school counselor why she

 had missed class and explained that A.C., J.C., and E.H. had sexually assaulted her.

           44.   Neither the Math teacher nor the second counselor asked whether Jane’s mother

 had been contacted, or took any other action including providing information to Jane about her

 rights under Title IX, the School District’s Title IX Coordinator, how to file a report with law

 enforcement, or how to obtain academic accommodations and support services to help her in

 school.

           45.   Jane proceeded to her next class, where A.C., her first attacker, was present. She

 was, accordingly, forced to endure the presence of one of her attackers despite the School Officials’




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  promise that they would keep him away from her and despite her telling Officer Etienne that A.C.

  was in that class with her.

         46.     Later that same day, when Jane was in her fourth class of the day, a security guard

  unexpectedly arrived to escort her back to the main office. When she arrived in the main office,

  Officer Etienne and two different School Officials – Assistant Principal Rhonda Gaines and Vice

  Principal Andy Harrison – were present. She also saw two of her assailants in the main office and

  did not want to look at or talk to them as she passed by.

         47.     Incredibly, School Officials still had not informed Jane’s mother about the reported

  assaults, in violation of Fla. Stat. § 1006.147.

         48.     Officer Etienne told Jane to go to Assistant Principal Morgan-Rose’s office so that

  Officer Etienne could talk to Jane alone again about her Statement.

         49.     Inside Assistant Principal Morgan-Rose’s office, Officer Etienne immediately

  sought to coerce Jane into changing her Statement. He told her that she needed to add to the

  Statement that she had “participated in all of this.” He said, “If you say you were not forced, then

  all of this will just go away and you won’t have to worry about it anymore. Your mother will know

  but we won’t have to look more into it.”

         50.     Jane was upset, alone, exhausted, and most of all wanted Officer Etienne’s

  questioning to stop. She was also concerned about burdening her mother, who was caring for a

  new baby.

         51.     Without an opportunity to obtain adult or parental advice, and without knowledge

  of the ramifications, Jane agreed to add to the Statement that she was a “willing participant to all

  of this.” Officer Etienne was not satisfied with Jane adding “willing participant to all of this,”




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  telling her that he did not like the way she wrote it because it did not sound like it was her “own

  words.” She then added, “I wasn’t really forced to do this.” (“Amended Statement”).

         52.      Officer Etienne took the Amended Statement and escorted Jane to another room to

  wait for Assistant Principal Gaines.

         53.      Jane saw Assistant Principal Gaines was meeting with two of her assailants. After

  her assailants left, Assistant Principal Gaines told Jane to come into her office. Without having

  interviewed Jane at all, Assistant Principal Gaines told Jane that her statement was the same as

  those of her three assailants. Assistant Principal Gaines then told Jane that she was suspended

  along with her assailants because they had all engaged in “sexual misconduct.” Jane was shocked

  and confused.

         54.      Assistant Principal Gaines did not attempt to learn or understand Jane’s “side of the

  story” or to determine for herself whether Jane had been bullied or victimized in any way, or

  provide any information to Jane about her rights under Title IX, the School District’s Title IX

  Coordinator, how to file a report with law enforcement agencies, or how to obtain academic

  accommodations and support services to help her in school.

         55.      Only after Assistant Principal Gaines had decided that Jane should be suspended

  did she tell Jane to call her mother and tell her to come to the school. She also told Jane not to tell

  her mother what had happened because Assistant Principal Gaines would be the one to inform her

  mother.

         56.      At approximately 2:47 P.M. that same day on November 7, after Jane’s mother was

  contacted and while Jane waited in the main office for her mother to arrive, Jane texted her mother

  to say that she was told to say that she was not forced to have sexual relations. In her text messages,




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  Jane also told her mother that she felt like she had done something wrong even though she knew

  she had not.

            57.   Upon her mother’s arrival, Jane, her mother, Officer Etienne, and Assistant

  Principal Gaines had a meeting, during which Assistant Principal Gaines asked Jane if she had

  “finally admitted” that she was not forced to do the sex acts because of “the video.”

            58.   Jane became alarmed, started crying, and asked, “What video?” Officer Etienne

  said, “I deleted it [the video].” Jane was asked to leave the room as Assistant Principal Gaines and

  Officer Etienne continued speaking with her mother in private, seeking her agreement that her

  daughter had engaged in consensual sexual activity.

            59.   Assistant Principal Gaines lied to Jane’s mother by telling her there was a video

  that contained evidence of consensual sexual activity, and that this video6 was why Jane had come

  forward to report what had happened.

            60.   Assistant Principal Gaines told Jane and her mother that Jane would be “suspended”

  at an off-campus facility due to consensual sexual misconduct.

            61.   Upon information and belief, the perpetrators were not disciplined for their bullying

  constituting sexual harassment, including sexual assaults, of Jane, in violation of Fla. Stat. §.

  1006.147 and School Board Policy 5517.01. The boys were only disciplined for consensual

  “sexual misconduct,” for which Jane was also disciplined.

            62.   Upon information and belief, Jane and her perpetrators were assigned to the same

  off-campus facility for supposed consensual sexual misconduct during their suspension from

  school.




  6
   The Miami Dade County State Attorney’s investigation, which took place months later, did not uncover
  any evidence of any video.
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          63.     No School Official ever performed an adequate, reliable, and impartial

  investigation of the allegations of multiple sexual assaults of Jane.

          64.     No School Official took any action to protect Jane and other students on November

  7 or thereafter (should she have returned to Carol City) from the offenders, in violation of Fla. Stat.

  § 1006.13 and the Miami-Dade County Public Schools Code of Student Conduct.7

          65.     Upon information and belief, School Officials did not take adequate action to

  prevent the recurrence of harassment or bullying by the same offenders of other students, in

  violation of Fla. Stat. § 1006.13.

          66.     Upon information and belief, no School Officials reported the allegation of multiple

  sexual assaults to the School District’s Title IX Coordinator, if one existed at the time.

          67.     No School Officials immediately referred Jane’s allegations to a law enforcement

  agency for investigation, nor told Jane or her mother that they had a right to ask a law enforcement

  agency to investigate, in violation of Fla. Stat. § 1006.147.

          68.     No School Officials referred Jane for counseling, in violation of Fla. Stat. §

  1006.147.

          69.     At the time Jane gave her Statement and was coerced into writing the Amended

  Statement, no School Official recommended or referred Jane to receive medical treatment at a

  hospital or rape treatment center.

          70.     No School Official referred Jane to the Child Advocacy Center operated by Kristi

  House, a non-profit organization responsible for providing counseling to child sexual abuse

  victims in Miami-Dade County.8 Kristi House partners with the State Attorney’s Office Sexual


  7
   Code of Student Conduct – Secondary, School Board of Miami-Dade County, 2014-2015, at 38.
  8Kristi House was founded in Miami in1995 based on the U.S. Department of Justice best practices model
  of Children’s Advocacy Centers. Kristi House is among the approximately 800 Children’s Advocacy
  Centers in the country. Clients comes to Kristi House via a referral system built over the past two decades
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  Battery/Child Abuse Unit, which is designed to interview victims like Jane in a non-threatening

  manner and to present the child’s side of the case for prosecution of the offender(s). As a result,

  the Sexual Battery/Child Abuse Unit never investigated Jane’s case.

         71.        Jane and her mother erroneously believed that because Jane had been disciplined,

  School Officials had conducted a full and proper investigation of the matter. They were never

  informed that they could report the allegations to the School District Office of Civil Rights

  Compliance (CRC) 9 to investigate Jane’s report of multiple sexual assaults. Their failure to

  provide Jane and her mother this information violated the School Board Policies addressing

  bullying, harassment, discrimination, dating violence and abuse complaint procedures – Policies

  5517,10 5517.01,11 5517.0212 and 5517.0313

         72.        Upon information and belief, Defendants provide inadequate training to employees

  about Title IX.

         73.        Defendants are charged with processing complaints according to federal agency

  procedures, which includes the U.S. Department of Education’s regulations and guidance on Title

  IX and sexual harassment.

         74.        Defendants did not apply the Department of Education’s regulations and guidance

  standards because they failed to: provide a prompt and equitable grievance process; conduct an

  adequate, reliable, and impartial investigation; and provide interim measures and academic

  accommodations to ensure that Jane continued to have equal access to educational opportunities.



  of law enforcement, schools, the Department of Children and Families, the University of Miami Child
  Protection Team, Guardians ad Litem, Rape Treatment Centers and the State Attorney’s Office. These
  agencies make up the Multi-Disciplinary Team (MDT) of the Child Advocacy Center.
  9
    Code of Student Conduct – Secondary, School Board of Miami-Dade County, 2014-2015, at 30 n. 1.
  10
     Defendant School Board Policy on Anti -Discrimination/Harassment.
  11
     Defendant School Board Policy on Bullying and Harassment.
  12
     Defendant School Board Policy on Anti-Discrimination/Harassment Complaint Procedures for Students.
  13
     Defendant School Board Policy on Dating Violence or Abuse.
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        75.   Also, contrary to School Board Policies 5517, 5517.01, 5517.02, and 5517.03:

              a.     No School Official ever communicated to Jane or her mother the outcome

                     of any adequate school-based investigation in writing or otherwise.

              b.     No School Official or other employee of the School District ever met

                     “with [Jane and/or her mother] to ascertain the facts pertinent to the

                     allegations.”

              c.     Upon information and belief, no School Official or other employee of the

                     School District “[met] with all the available witnesses identified by [Jane],

                     individually and confidentially, nor ask[ed] them to make statements

                     orally and in writing regarding the alleged facts that form the basis of the

                     complaint.”

              d.     Upon information and belief no School Official or other employee of the

                     School District met with all the available witnesses who would have been

                     identified by Jane had the School District conducted an adequate,

                     impartial, and reliable investigation.

              e.     Upon information and belief, no School Official or other employee of the

                     School District documented “all reports and interventions on the

                     appropriate student case management forms within ten (10) workdays.”

              f.     Upon information and belief, no School Official or other employee of the

                     School District reported the outcome of any investigation to the CRC.

              g.     No School Official or other employee of the School District provided Jane

                     or her mother with a copy of School Board Policies 5517, 5517.01,

                     5517.02, and 5517.03.


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          76.     November 7 was the last date that Jane attended school at Carol City.

                November 8, 2017 to February 23, 2018 – Jane’s Absence from School

          77.     After experiencing severe, pervasive, and objectively offensive sexual harassment, ,

  Jane was afraid to return to Carol City, as School Officials and School District employees did not

  offer any accommodations to keep her safe in school. The mental and physical distress suffered by

  Jane—including humiliation, fear of rumors, repeated sexual harassment, including sexual assaults,

  and retaliation—kept Jane from returning to Carol City.

          78.     On or about the morning of November 9, 2017, a School Official told Jane’s mother

  to come to the school so that they could give her a written notice that Jane was suspended to an

  off-campus facility for five days due to “sexual misconduct.”

          79.     On or about the evening of November 9, 2017, two school resource officers (not

  Officer Etienne) came to Jane’s home, interviewed Jane and her mother, and informed them that

  one or more of Jane’s attackers may have exposed her to the human immunodeficiency virus (HIV)

  and/or gonorrhea. Jane was advised to go immediately to a Jackson Memorial Hospital’s rape

  treatment center to get tested and treated for HIV exposure.14

          80.     Jane immediately sought treatment that evening at Jackson Memorial Hospital,

  escorted by the school resource officers.

          81.     Later that night, an employee of Jackson Memorial Hospital who had interviewed

  Jane earlier that evening, called Jane’s mother to tell her that the Hospital believed Jane had been

  sexually assaulted, and that they were therefore referring her for intervention at the Kristi House

  Child Advocacy Center, a not-for-profit treatment center for child victims of sexual abuse.




  14
    By the time the school resource officers referred her for medical treatment, it had been several days since
  the last of the assaults occurred on November 6th.
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         82.     The school resource officers who were present at the Hospital that night did not

  refer the case for investigation by a law enforcement agency, in violation of Fla Stat. § 1006.147.

         83.     Jane received periodic medical care and testing to determine if she was infected

  with HIV for approximately one year following November 9, 2017.

         84.     Jane remained at home, absent from school, for the remainder of the semester and

  halfway through the next quarter until on or about February 23, 2018—more than three months

  after she first reported her sexual harassment and multiple sexual assaults. Only after more than

  three months did School District employees finally help her to transfer to another school, following

  her mother’s repeated requests for a transfer.

         85.     From November 9 through approximately December 21, 2017, no School Official

  inquired about Jane’s condition or emotional, physical, or educational needs, despite her chronic

  absence and their awareness of the allegations immediately preceding her absence.

         86.     In violation of Fla. Stat. § 1003.26, which governs enforcement of school

  attendance in public K-12 education:

                 a.      No School Official or School District employee contacted Jane to

                         determine the reason for each absence.

                 b.      No School Official or School District employee referred Jane’s mother to

                         the “child study team” to identify remedies for Jane’s pattern of absences.

                 c.      Upon information and belief, no School Official or School District

                         employee referred Jane’s absences to Defendant Carvalho’s office. And if

                         a School Official or School District employee referred Jane’s pattern of

                         absences to Defendant Carvalho’s office, his office took no action on such

                         referral(s).


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                 d.     No School Official or School District employee enforced or took any

                        action to ensure Jane could attend high school until on or about February

                        23, 2018.

                 e.     No School Official or School District employee provided Jane an

                        opportunity to make up assigned work or avoid an academic penalty.

         87.     On or about December 21, 2017, Assistant Principal Gaines called Jane’s mother

  to tell her that Jane was deemed truant from school. She offered no help to the family.

         88.     On or about January 16, 2018, Jane’s mother went to Carol City to try to sign Jane

  up for homeschool or transfer her to another school because Jane did not feel safe at Carol City.

  Assistant Principal Gaines tried to convince Jane’s mother to send Jane back to Carol City, but

  provided no plan to protect Jane if she returned there. Accordingly, Jane’s mother did not believe

  Jane would be safe there and continued to ask for a transfer.

         89.     On or about that same day, Jane’s mother spoke to a Carol City counselor who said

  she would send the transfer request form to the School District Regional Office for approval.

  However, no one ever followed up with Jane’s mother about the transfer request.

         90.     It was not until that same day, on or around January 16, 2018, that Assistant

  Principal Gaines gave Jane’s mother at her request, a copy of Jane’s original Statement to Officer

  Etienne on November 7, 2017. The Statement did not include the additional language that Jane

  was coerced into adding to the Amended Statement.

         91.     In late January 2018, with the assistance of Jane’s therapist from Kristi House,

  Jane’s mother went to the Regional Office again to try to get Jane transferred to a new school, but

  no one at the School District Regional Office helped her. Meanwhile, Jane was still not in school.




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         92.     Jane’s mother subsequently contacted several press outlets and attorneys to get help

  for her daughter.

         93.     Channel 7 WSVN responded to Jane’s mother and agreed to investigate the

  circumstances of the case.

         94.     On or about January 31, 2018, upon information and belief, a representative of

  Channel 7 contacted the School Board, Carvalho and/or a School District employee for comment

  about a story they would broadcast about the sexual assaults.

         95.     On or about January 31, 2018, Assistant Principal Gaines finally reached out to

  Jane’s mother by telephone to find out why Jane was absent from school and to say that she would

  help Jane make up her school assignments.

         96.     On February 1, 2018, Assistant Principal Gaines emailed Jane’s mother with a link

  to a website that ostensibly contained her World History assignments, but no other assignments.

  Neither Assistant Principal Gaines, nor any other School Official or District Administrator,

  provided instructions on how to access the assignments, and Jane’s mother did not own a computer.

  Nothing else was offered by Defendants to fulfill their educational obligations to Jane beyond that

  single, belated gesture.

         97.     In early February 2018, Channel 7 broadcasted a story about the sexual harassment

  Jane had experienced.

         98.     Upon information and belief, it was not until around February 14, 2018, over three

  months after reports to School Officials and School District employees that Jane had been sexually

  harassed, including sexually assaulted multiple times, that Defendant School Board belatedly

  referred Jane’s case to the State Attorney’s office for criminal investigation, violating Fla. Stat. §§

  1006.13 and 1006.147.


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         99.     When the Defendant School Board finally reported Jane’s case for criminal

  investigation, rather than referring the case to the Sexual Battery/Child Sexual Abuse Unit,

  Defendant School Board inappropriately referred Jane’s case to the Juvenile Unit of the State

  Attorney’s Office, where she was interrogated by prosecutors who typically investigate juvenile

  offenses in non-sexual crimes.

         100.    On or about February 22, 2018, Jane and her mother began an administrative

  process to expunge the record of Jane’s suspension on the basis that the assaults were not

  consensual, and that Defendant School Board’s investigation of the sexual harassment, including

  sexual assaults, was inadequate and improperly conducted.

         101.    On February 23, 2018, Jane’s mother and an attorney for Defendant School Board

  met with the School District Regional Superintendent who finally assisted with Jane’s transfer and

  transportation to a public school in a different neighborhood from her home.

         102.    On or about March 2, 2018, Jane filed a complaint with the Miami Dade County

  School Police’s internal affairs department regarding Officer Etienne’s intimidating and coercive

  conduct on November 7th.

         103.    Defendant School Board refused to grant Jane’s repeated requests for expungement

  of the record of her suspension stating that it could not expunge the record until the criminal

  investigation and the Miami-Dade School Police’s internal investigation of Officer Etienne were

  completed.

                         Jane Was Harmed by Defendant School Board’s
                         Deliberate Indifference and Retaliatory Actions

         104.    Jane, who had been a diligent student prior to the sexual harassment, suffered

  physical and emotional distress and was harmed academically. She became afraid to return to

  school and to walk around her neighborhood for fear of seeing the attackers and their friends. For

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  more than three months, from November 8, 2017 through about February 26, 2018, Jane remained

  home – often alone – receiving “F” grades on her assignments and ultimately failing every single

  class during a grading period, with no attempt by Defendants to bring her back to school to

  continue her education.

          105.    Despite Jane’s and her mother’s requests, Defendant School Board, through School

  Officials and District employees, affirmatively refused to help Jane make up the graded work

  assignments that she missed during her absence from November 8, 2017 through approximately

  February 26, 2018, or provide any avenues for alternative instruction.

          106.    Jane’s written requests to Defendant School Board’s attorney for compensatory

  services (i.e., tutoring to make up for the instruction she missed, an opportunity to be graded on

  the work that she missed, and counseling) were denied.

                                       CLAIMS FOR RELIEF

                                        COUNT I
                    VIOLATION OF TITLE IX AS TO DEFENDANT
             MIAMI-DADE COUNTY SCHOOL BOARD (20 U.S.C. § 1681, et seq.)
                     (Deliberate Indifference to Sexual Harassment)

          107.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          108.    Title IX of the Education Amendments of 1972, provides, with limited exceptions,

  that “[n]o person in the United States shall, on the basis of sex, be excluded from participating in,

  be denied the benefits of, or be subjected to discrimination under any education program or activity

  receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

          109.    At all relevant times the School Board exercised substantial control over the sexual

  harassers who at all relevant times were students enrolled in the School District.




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         110.    Title IX damages liability arises when school officials with authority to take

  corrective action have actual knowledge of student-on-student sexual harassment and their

  response is deliberately indifferent, i.e., clearly unreasonable under the known circumstances.

         111.    The sexual harassment, including multiple sexual assaults, suffered by Jane was so

  severe, pervasive, and objectively offensive that it deprived her of equal access to the educational

  opportunities and benefits provided by Defendant School Board.

         112.    Beginning November 7, 2017, School District officials with authority to take

  corrective measures in response to student-on-student sexual harassment at Carol City, including

  Principal Dunn, Assistant Principal Morgan-Rose, and Assistant Principal Gaines, acted with

  deliberate indifference to the severe, pervasive, and objectively offensive sexual harassment,

  including multiple sexual assaults, that Jane suffered.

         113.    The purported investigation conducted by School Officials and Officer Etienne fell

  significantly short of an impartial, reliable, and adequate investigation.

                 a.      They failed to interview relevant witnesses with corroborating

                         information, including other students and school employees.

                 b.      Officer Etienne cozened and coerced Jane into changing her statement to

                         indicate, falsely, that she was a “willing participant” in her sexual assaults

                         and, because he did not believe it sounded like Jane’s “own words,” to add

                         that she “wasn’t really forced to do this,” so as to relieve him and School

                         Officials of the burden of having to conduct a full investigation of Jane’s

                         claims and take proper disciplinary and rehabilitative actions.




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                   c.     The conclusion of School Officials that the sexual assaults were

                          consensual essentially, and unfairly, relied only on crediting the

                          statements of Jane’s assailants.

         114.      Defendant School Board failed to refer the allegations to the School District Civil

  Rights Compliance Office; failed to refer Jane for counseling; failed to keep Jane’s perpetrators

  away from her in school, causing Jane to feel unsafe in school and not return; failed to provide

  instruction or instructional materials for Jane while she was absent for more than three months

  following the assaults; failed to contact Jane’s mother to determine the reason for Jane’s pattern

  of absences following the final assault; failed to refer Jane’s case to a child study team to determine

  remedies for her pattern of nonattendance in school following the final assault; failed to provide

  opportunities for Jane to make up the assigned work she missed and avoid an academic penalty in

  violation of Fla Stat. § 1003.26, and otherwise was clearly unreasonable in light of the known

  circumstances.

         115.      As a direct and proximate result of Defendant School Board’s deliberate

  indifference, Jane has suffered physical and psychological trauma, suffered emotional distress and

  anxiety, feared being in the school building, missed months of instruction and contact with her

  peers, suffered a significant drop in her grades disqualifying her from taking certain advanced

  courses and from consideration for a magnet program at a new school because of her lower grades,

  and suffered damage to her reputation and standing in the community. Jane was thus excluded

  from participating in and denied the benefits of Defendant School Board’s education program as

  a result of its deliberate indifference to the sexual harassment she suffered.




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                                 COUNT II
                        VIOLATION OF TITLE IX
    AS TO DEFENDANT MIAMI-DADE COUNTY SCHOOL BOARD (20 U.S.C. § 1681,
                                   et seq.)
                        (Retaliation under Title IX)

          116.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          117.    After Jane wrote her Statement in the presence of the Officer Etienne detailing the

  sexual harassment she experienced, upon information or belief, Assistant Principal Gaines,

  Assistant Principal Morgan-Rose, and/or Principal Ja Marv Dunn knew of, or coordinated, Jane’s

  meeting with Officer Etienne on a second occasion, during which Officer Etienne coerced her into

  recanting the forced and nonconsensual nature of the incidents by changing the Statement to say

  that she was a “willing participant” in her sexual assaults and, because he did not believe it sounded

  like Jane’s “own words,” to add that she “wasn’t really forced to do this.”

          118.    Defendant School Board retaliated against Jane for reporting the allegations of

  sexual harassment, including multiple sexual assaults by: a) suspending her from school after she

  reported the sexual assaults; b) failing to refer her complaint for investigation by the CRC or for

  immediate criminal investigation; c) treating her like a perpetrator not a victim; d) failing to tell

  Jane or her mother of their rights under state law, School Board policy, and Title IX; e) failing to

  refer Jane for medical treatment at a rape treatment center within a reasonable timeframe; f) failing

  to protect Jane from further harassment by the perpetrators; g) failing to contact Jane and provide

  her with instruction or other accommodations when she was absent for more than three months of

  school; h) failing to transfer her to another school with a safer environment away from the

  perpetrators where she could finish her education; and i) otherwise failing to comply with its

  responsibilities as mandated by Title IX.


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                                           COUNT III
                SECTION 1983 LIABILITY AGAINST THE SCHOOL BOARD
           Violation of the Right to Equal Protection, Brought Under 42 U.S.C. § 1983
                                        (Failure to Train)

          119.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          120.    Defendant School Board was at all times acting under color of law, and had a duty

  – but failed – to train School District employees, including School Officials, on the School Board’s

  policies for reporting and addressing sexual harassment of students like Jane.

          121.    Defendant School Board had a custom of not adequately training School District

  employees, including the School Officials, on a) the identity of the School District’s Title IX

  coordinator; b) their duty under both Title IX and School Board policies to notify the Title IX

  coordinator of all student-on-student harassment; c) their duty to adequately, reliable, and

  impartially investigate all reports of sexual harassment independently of law enforcement agencies;

  d) how to conduct adequate, reliable, and impartial investigations; and/or e) how to provide

  effective academic accommodations and support services to student victims of sexual harassment.

          122.    Defendant School Board’s custom of failing to train School District employees,

  including the School Officials, on how to address sexual harassment, including peer bullying

  constituting sexual harassment, in light of the obvious need and risks of not doing so, amounted to

  deliberate indifference to the constitutional rights of students, such as Jane.

                  a.       The U.S. Department of Education’s Office for Civil Rights has

                           recognized the need for adequate training and responses to sexual




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                           harassment in schools and has issued guidance for public school districts

                           and universities in 1997, 2001, 2011, 2014, and 2017 on this issue.15

                   b.      Student-on-student sexual harassment occurs frequently in the public high

                           school context, including in the School District. Defendant School Board

                           reported to the Florida Department of Education that there were 170, 132

                           and 194 incidents of sexual harassment, sexual assault, sexual battery, and

                           sexual offenses during the 2014-15, 2015-16 and 2016-17 school years,

                           respectively, in the School District.16

                   c.      On at least four occasions between 2013 and 2017, Defendant School

                           Board was put on notice, by the filing of state and federal litigation against

                           them by student plaintiffs, of their deliberate indifference to, and failure to

                           train School District employees on, peer sexual harassment in the School

                           District.

                   d.      During the 2017-2018 school year, a minor male student, X.X., and his

                           mother repeatedly reported to his school administration at Young Men’s

                           Preparatory Academy and to a high-ranking school District employee

                           regarding ongoing peer bullying constituting sexual harassment. Not only


  15
     For almost two decades, the Department of Education has issued multiple guidance documents explicitly
  stating the need for schools to train their employees on addressing student-on-student sex-based harassment.
  U.S. Dep’t of Educ., Office for Civil Rights (ED OCR), Q&A on Campus Sexual Misconduct 4 (Sept. 22,
  2017); ED OCR, Questions and Answers on Title IX and Sexual Violence (Apr. 29, 2014); ED OCR, Dear
  Colleague Letter: Sexual Violence (Apr. 4, 2011); ED OCR, Dear Colleague Letter: Harassment and
  Bullying (Oct. 26, 2010); ED OCR, Revised Sexual Harassment Guidance: Harassment of Students by
  School Employees, Other Students, and Third Parties (Jan. 19, 2001); ED OCR, Sexual Harassment
  Guidance: Harassment of Students by School Employees, Other Students, or Third Parties, 62 Fed. Reg.
  12034 (Mar. 1997).
  16
     Each school year all schools are required to report to the School District all incidents of sexual offenses,
  sexual harassment, sexual assault, and sexual battery. School Districts are required to report that data to the
  Florida Department of Education which collects and retains it in the School Environmental Safety Incident
  Reporting (SESIR) System.
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                         were Defendant’s agents deliberately indifferent to the calls for help by

                         X.X. and his mother, but they also failed to recognize the need to

                         investigate the bullying and to train its employees. X.X. reported that he

                         had been sexually assaulted repeatedly by a male student on the property

                         Young Men’s Preparatory Academy.

         123.    Defendant School Board’s failure to provide adequate training to employees

  (including School Officials and other School District employees), represents a custom that actually

  caused injury to Jane. Defendant’s failure to provide adequate training and the violation of Jane’s

  constitutional rights is evidenced by the following:

                 a.      Upon information and belief, Defendant School Board lacks adequate

                         training materials and/or programs for employees on recognizing,

                         preventing and addressing sexual harassment promptly and equitably;

                 b.      School Officials’ failure to report to the Florida Department of Children

                         and Families the alleged sexual harassment within a reasonable timeframe;

                 c.      School Officials’ failure to immediately report the sexual assaults to law

                         enforcement agencies or to inform Jane and her mother of the option of

                         reporting the sexual assaults to law enforcement;

                 d.      School Officials’ failure to inform Jane of her rights under Title IX and of

                         the identity of the Title IX Coordinator.

                 e.      School Officials’ failure to perform an adequate, reliable, and impartial

                         investigation of Jane’s allegations;

                 f.      School Officials’ failure to immediately notify Jane’s mother of Jane’s

                         allegations;


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                  g.       School Officials’ failure to refer Jane for counseling;

                  h.       School Officials’ disciplinary action against Jane before conducting an

                           adequate, reliable, and impartial investigation;

                  i.       Upon information and belief, School Officials’ failure to report Jane’s

                           allegations to the Civil Rights Compliance Office;

                  j.       School Officials’ failure to adequately document and report Jane’s

                           allegations as required by Defendant School Board’s policies;

                  k.       School Officials’ failure take appropriate actions to protect Jane;

          124.    Defendant School Board was aware of its legal obligations pursuant to Title IX,

  state policies, and District policies to appropriately train employees on how to recognize, prevent,

  and address reports of bullying and sexual harassment to protect students’ constitutional rights.

          125.    Defendant School Board’s failure to train employees was unreasonable and

  amounted to deliberate indifference.

          126.    As a direct and proximate result of Defendant School Board’s actions and inactions

  and violations of Jane’s clearly established constitutional rights, Jane sustained and continues to

  sustain injuries, including emotional distress, psychological trauma, and academic harms, for

  which she is entitled to be compensated.

                              COUNT IV
                           Supplemental Claim
    NEGLIGENCE AS TO DEFENDANTS MIAMI-DADE COUNTY SCHOOL BOARD
                           AND CARVALHO

          127.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          128.    This is a supplemental claim brought pursuant to 28 U.S.C. § 1367 for negligence

  (as permitted by Fla. Stat. §768.28(9)(a)) against Defendants School Board and Superintendent

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  Carvalho, for injuries suffered by Jane as a result of the actions and inactions of Principal Dunn,

  Assistant Principal Gaines, Assistant Principal Morgan-Rose, Officer Etienne and other School

  District employees who were acting in the course and scope of their employment.

         129.    Jane provided a §768 notice to the School Board on April 11, 2018, thus fulfilling

  a precondition for filing a claim for negligence against the School Board.

         130.    While Jane was enrolled at Carol City, Defendant School Board, Defendant

  Carvalho, the School Officials, and their agents were entrusted by law and policy with the care of

  Jane as a student at Carol City and had a duty to properly supervise student activity on school

  property, to enforce Defendant School Board’s policy on bullying, and to ensure that Jane had

  access to her class work and was educated.

         131.    Defendant School Board also had a duty to promptly and reasonably investigate

  complaints of bullying and sexual harassment, including sexual assault, and to provide a

  reasonably safe environment for students to attend school or otherwise continue their education,

  without abatement.

         132.    As detailed above, Jane was repeatedly subjected to bullying constituting sexual

  harassment, including sexual assaults, by other students who attended Carol City.

         133.    As detailed above, Jane and three other classmates reported the bullying

  constituting sexual harassment, including sexual assaults, to School Officials both orally and in

  writing. Indeed, Jane’s Statement clearly indicated severe and pervasive bullying and sexual

  harassment, including sexual assaults, whether a School Official believed that the penetrative

  sexual acts constituted sexual misconduct .

         134.    Defendants School Board and Carvalho, by and through the actions and nonactions

  of employees and agents of the School District and Defendant School Board, including the School


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  Officials, breached the duty of care that they owed to Jane in the manner that they investigated the

  reports of bullying and sexual harassment, including sexual assaults, in how they mistreated Jane

  after she made the report, and in how they neglected her education and recovery from the trauma

  thereafter. Specifically, they breached their duty of care by the following (without limitation):

                 a.      Failing to properly, reasonably and equitably investigate the reports of

                         Jane’s sexual assaults;

                 b.      Failing to immediately inform Jane’s mother of the reported assaults and

                         to have her present during two interviews of her 14-year-old child by the

                         school resource officer;

                 c.      Cozening and coercing Jane into adding false assertions to her written

                         Statement by using false assurances;

                 d.      Disciplining Jane for supposedly “consensual” sexual misconduct;

                 e.      Ignoring all evidence of bullying and lack of consent and mental distress

                         in her Statement, her demeanor and the circumstances;

                 f.      Engaging in bullying and coercion themselves with the false story of a

                         video of the attacks;

                 g.      Upon information and belief, failing to refer the allegations to the School

                         District CRC;

                 h.      Failing to immediately refer the allegations to local law enforcement;

                 i.      Failing to refer Jane for appropriate medical treatment and testing within a

                         reasonable timeframe;

                 j.      Failing to refer Jane for counseling and/or continuing counseling;

                 k.      Failing to provide instructional materials for Jane;


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                  l.       Failing to contact Jane’s mother to determine the reason for Jane’s pattern

                           of absences and attempt measures to cure;

                  m.       Failing to refer Jane’s case to a child study team to determine remedies for

                           her pattern of nonattendance in school;

                  n.       Upon information and belief, failing to report Jane’s case of a pattern of

                           absences to the appropriate administrators. If Jane’s pattern of absences

                           was reported to Defendant Carvalho, his office did not take any action to

                           assist her.

                  o.       Failing to provide opportunities for Jane to make up the assigned work she

                           missed and not to receive an academic penalty;

                  p.       Making consideration of Jane’s mother’s petition for expungement of

                           Jane’s suspension contingent upon the completion of a criminal

                           investigation by the State Attorney’s Office and of a school police internal

                           affairs investigation of Officer Etienne’s conduct.

          135.    As a direct and proximate result of Defendant School Board’s and Defendant

  Carvalho’s actions and inactions, Jane sustained and continues to sustain injuries, including

  emotional distress, psychological trauma, and academic harms, for which she is entitled to be

  compensated.

                               COUNT V
                           Supplemental Claim
    NEGLIGENCE – FAILURE TO TRAIN – AS TO DEFENDANTS SCHOOL BOARD
                            AND CARVALHO

          136.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.




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         137.    This is a supplemental claim pursuant to 28 U.S.C. § 1367 for negligence (as

  permitted by Fla. Stat. §768.28(9)(a)) against Defendants School Board and Carvalho for injuries

  suffered by Jane as a result of the actions and inactions of the School Officials including Principal

  Dunn, Assistant Principal Gaines, Assistant Principal Morgan-Rose, Officer Etienne and other

  School District employees who were acting in the course and scope of their employment.

         138.    In October and November 2017, Jane was a student at Carol City, a high school

  supervised, controlled and operated by Defendants School Board and Carvalho.

         139.    As such, Defendants School Board and Carvalho, and their agents were entrusted

  with the care of Jane and owed a duty to Jane to properly train their employees, agents, and

  representatives for the investigation and handling of reports involving bullying and sexual

  harassment, including sexual assault, and the education of students suffering from trauma,

  especially when inflicted on school property during school hours.

         140.    The harm caused to Jane was foreseeable by the Defendants’ negligent failure to

  properly to train their employees about handling reports of bullying and sexual harassment,

  including sexual assault.

         141.    Defendants School Board and Carvalho breached that duty by failing to properly

  train School Officials including Principal Dunn, Assistant Principal Gaines, Assistant Principal

  Morgan-Rose, Officer Etienne and other School District employees, as evidenced by the following

  (without limitation):

                 a.       Upon information and belief Defendants’ lack of training materials and/or

                          programs for employees on recognizing, preventing and addressing

                          bullying and sexual harassment and properly handling reports of same;




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             b.    Upon information and belief, the School District did not at the time of the

                   allegations cited in this complaint employ a Title IX Coordinator a) whose

                   name was published in posters disseminated at school sites and/or b)

                   coordinated School District-wide training as required under Title IX,

                   among other requirements.

             c.    School Officials and other School District employees’ failure to

                   immediately report to a law enforcement agency the alleged sexual battery

                   and assault;

             d.    School Officials and other School District employees’ failure to inform

                   Jane of her rights under Title IX and School Board policies;

             e.    School Officials and other School District employees’ failure to perform a

                   reasonable investigation of Jane’s allegations, including coercing her into

                   recanting her original statement;

             f.    School Officials’ and other School District employees’ failure to

                   immediately notify of Jane’s mother of Jane’s allegations;

             g.    School Officials’ and other School District employees’ failure to refer

                   Jane for counseling at Kristi House or otherwise;

             h.    School Officials and other School District employees’ disciplinary action

                   against Jane before conducting a prompt and equitable investigation;

             i.    School Officials’ and/or other School District employees’ failure to report

                   Jane’s allegations to the School Board CRC;




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                  j.       School Officials’ and/or other School District employees’ failure to

                           adequately document and report Jane’s allegations as required under

                           Defendant School Board’s policies;

                  k.       School Officials and other School District employees’ failure take

                           appropriate actions to protect Jane and other students from further bullying

                           and harassment, including assault;

                  l.       School Officials’ and other School District employees’ failure to notify

                           Jane that she had the right to report the allegations to the Miami-Dade

                           Police Department and the CRC; and

                  m.       School Officials’ and other School District employees’ failure to provide

                           intervention, including but not limited to instructional intervention, to Jane

                           in her absence from school;

          142.    As a direct and proximate result of Defendants School Board’s and Carvalho’s

  actions and inactions, Jane sustained and continues to sustain injuries, including emotional distress,

  psychological trauma, and academic harms, for which she is entitled to be compensated.

                                COUNT VI
     NEGLIGENCE PER SE AS TO DEFENDANTS MIAMI-DADE COUNTY SCHOOL
                          BOARD AND CARVALHO

          143.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          144.    This is an action for negligence per se (as permitted by Fla. Stat. §768.28(9)(a))

  against Defendants School Board and Carvalho, for injuries suffered by Jane as a result of the

  actions and inactions of School Officials’ and/or other School District employees who were acting

  in the course and scope of their employment.


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          145.    Pursuant to Fla. Stat. §39.201(1)(c), Defendants School Board and Carvalho were

  required to immediately report the sexual assaults of Jane, a minor child, to the Department of

  Children and Families and the Miami Dade Police Department and/or the State Attorney’s Office.

          146.    Defendant School Board did not report the sexual assaults of Jane to any or all of

  those entities, within a reasonable timeframe.


          147.    As a proximate cause of Defendant School Board’s violation of Fla. Stat.

  §39.201(1)(c), Jane suffered and continues to suffer severe physical and emotional distress and

  academic harms.

                               COUNT VII
    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AS TO DEFENDANTS
           MIAMI-DADE COUNTY SCHOOL BOARD AND CARVALHO

          148.    Jane incorporates all preceding paragraphs into this Count by reference as though

  fully restated herein.

          149.    This is an action for intentional infliction of severe emotional distress (as permitted

  by Fla. Stat. §768.28(9)(a)) against Defendants School Board and Carvalho for injuries suffered

  by Jane as a result of the actions and inactions of School Officials and other School District

  employees who were acting in the course and scope of their employment.

          150.    As detailed above, Defendants School Board and Carvalho, through the actions of

  School Officials and other School District employees, intentionally and recklessly retaliated

  against Jane for reporting bullying and sexual harassment. Defendants School Board and Carvalho

  knew or should have known that emotional distress would likely result from their actions and

  inactions.

          151.    Specifically, Defendants School Board and Carvalho, through the actions School

  Officials and other School District employees took the following actions (without limitation):

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             a.    Coercing and cozening Jane to change her statement to falsely state that

                   she was a “willing participant” in her sexual assaults and, because this did

                   not sound like Jane’s “own words,” to add that she “wasn’t really forced to

                   do this”;

             b.    Disciplining her with the perpetrators for supposed consensual sexual

                   misconduct;

             c.    Failing to complete a reasonable and equitable investigation of Jane’s

                   allegations;

             d.    Failing to refer her complaint for investigation by the CRC or for criminal

                   investigation;

             e.    Failing to immediately report her complaint of sexual assaults to the

                   Department of Children and Families;

             f.    Failing to tell Jane or her mother of their rights under state law, School

                   Board policy, and Title IX;

             g.    Failing to refer Jane for medical treatment at a rape treatment center

                   within a reasonable timeframe;

             h.    Failing to protect Jane from further bullying and harassment by the

                   perpetrators or the affiliates;

             i.    Failing to contact Jane and provide instruction when she was absent for

                   over three months of school due to her trauma; and/or

             j.    Failing to, within a reasonable timeframe, transfer her to another school

                   with a safer environment away from the perpetrators and their affiliates

                   where she could finish her education.


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         152.   The conduct of the School Officials in the course of their duties, and Defendants

  was outrageous; it went beyond all bounds of decency and is odious and intolerable in a civilized

  community.

         153.   As a result of the conduct of the School Officials, in the course of their duties, and

  Defendants, Jane suffered severe emotional distress.

         WHEREFORE, Jane respectfully requests judgment in her favor and against Defendants

  School Board and Carvalho on all counts as follows:

                A. Compensatory damages for Jane’s psychological and emotional distress, loss
                   of educational opportunities and benefits, standing in her community, and
                   damages to her reputation and future earnings in an amount to be proved at
                   trial;

                B. Punitive damages;

                C. Injunctive relief;

                D. Interest;

                E. Costs;

                F. Reasonable attorneys’ fees for the efforts of undersigned counsel retained to
                    represent her; and

                G. Such other and further relief, including equitable relief, that this Court deems
                    just and proper.

                                          JURY DEMAND

          Jane demands a trial by jury.




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  Dated: January 15, 2019                Respectfully submitted,


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